     Case 3:19-md-02913-WHO         Document 4217-2   Filed 04/24/24      Page 1 of 2



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 8                                 UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN FRANCISCO DIVISION

11

12     IN RE JUUL LABS, INC., MARKETING,          Case No. 19-md-02913-WHO
       SALES PRACTICES, AND PRODUCTS
13     LIABILITY LITIGATION                       [PROPOSED] ORDER GRANTING
                                                  ADMINISTRATIVE MOTION TO FILE
14                                                UNDER SEAL
15     This Document Relates to:
       CLASS ACTIONS
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                                                             [PROPOSED] ORDER GRANTING ADMINISTRATIVE
                                                                             MOTION TO FILE UNDER SEAL
                                                                               CASE NO. 19-MD-02913-WHO
     Case 3:19-md-02913-WHO         Document 4217-2        Filed 04/24/24       Page 2 of 2



 1           Having considered Class Plaintiffs’ April 24, 2024, Administrative Motion to File the
 2    Kovach Declaration Under Seal, the Court hereby GRANTS the Motion and ORDERS that the
 3    following document shall be sealed, as indicated below:
 4

 5                             Document                              Portions to be Sealed

 6           Declaration of Loree Kovach In Response to the
                                                                Portions of ¶¶ 9, 10, 13.f, 15–40,
              Court’s Request For Steps Taken to Identify,
                                                                           41, and 43
 7           Analyze, and Handle Likely Fraudulent Claims
 8

 9           IT IS SO ORDERED.

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12    Dated: ___________________                          _______________________________
                                                           Honorable Judge William H. Orrick
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                                                                                  [PROPOSED] ORDER GRANTING
                                                    -1-             ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                                     CASE NO. 19-MD-02913-WHO
